
Wabtiet, J.
delivered the opinion of the court.
A judgment obtained by the United States against the mayor, aldermen and inhabitants of the city of New Orleans, in the district court of the United States for the eastern district of Louisiana, having been reversed by the supreme court of the United States, the corporation of New Orleans became entitled to a very large sum of money, which had been deposited in two of the banks of the city to await the event of said suit. A member of the bar who had been employed by the corporation to provoke the reversal of the [430] judgment, on filing the mandate of the supreme court procured an order from the district court for the payment of the money thus deposited to the credit of the plaintiffs in error; and obtained from the present defendant, then clerk of the said district court, two checks amounting together to the sum of $64,692 15, which he claimed from the corporation as a compensation for his professional services in the case. The present suit is brought to recover this sum from the defendant, as having been improperly paid; and the plaintiffs are appellants from a judgment which disallows their entire claim, and gives to the defendant the sum of $1386, on his reconventional demand ■set up in his answer.
The counsel for the appellants, besides questioning the right of the attorney to receive any money of theirs, had laid great stress on an allegation that he was entitled to no compensation from them, and if entitled to any, to a very small sum in comparison to that he received.
It has appeared to us perfectly useless in the decision of this case, to inquire into the claim of the attorney against the corporation; for his right to ■receive the money resulted from his having been employed to provoke the judgment under which the corporation became entitled to the money. If this circumstance authorized him to receive the whole amount of the judgment it is immaterial to inquire whether the part which was paid to him be more than was justly due to him for his fee. The Louisiana Oode, art. 2139, provides that “ payment to an attorney at law, employed to sue for the payment will discharge the debtor, although the attorney be not specially empow*629ered to receive the debt.” It is therefore clear that the attorney derived his authority to receive, from his employment to procure the judgment and needed no special authorization. The defendant and appellee consequently paid in compliance with an order of court, requiring him to pay the money which had been deposited in the banks, to the corporation or its agent; and there is not the least suggestion that he did not act in good faith.
Ueither party has drawn our attention to the plea in reconvention, [431] or complained of the judgment rendered thereon. ¥e have not thought it our duty to look into it.
It is therefore ordered, adjudged and decreed, that the judgment of the district court he affirmed, with costs.
